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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

In re:

VITAL PHARMACEUTICALS, INC., et al.,                       Case No.: 22-17842-PDR

                                                           Chapter 11
      Debtors.                                             (Jointly Administered)
_______________________________________/

VITAL PHARMACEUTICALS, INC., et al.,

         Plaintiffs,

v.                                                         Adv. Proc. No. 23-01051-PDR

JOHN H. OWOC AND MEGAN E. OWOC,

      Defendants.
_______________________________________/

            OBJECTION TO ENTRY OF FINAL ORDERS AND MOTION
             REQUESTING THAT BANKRUPTCY COURT DETERMINE
         WHETHER THIS ADVERSARY PROCEEDING IS SUBJECT TO THE
     ENTRY OF FINAL ORDERS AND JUDGMENTS BY THE BANKRUPTCY COURT

         Defendants, John H. Owoc and Megan Owoc (together, the "Owocs"), pursuant to Federal

Rule of Bankruptcy Procedure 7016(b) and the Order Setting Scheduling Conference and

Establishing Procedures and Deadlines [ECF No. 5], hereby object to the Bankruptcy Court’s

entry of final orders and judgments in the above-captioned adversary proceeding and request that

the Bankruptcy Court determine whether this adversary proceeding is subject to the entry of final

orders and judgments by the Bankruptcy Court, all for the reasons set forth in the Motion to

Withdraw Reference, Designation of Record and Demand for Jury Trial filed contemporaneously

by the Owocs.




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       WHEREFORE, the Owocs respectfully object to the Bankruptcy Court’s entry of final

orders and judgments in this adversary proceeding and request that the Bankruptcy Court

determine whether this adversary proceeding is subject to the entry of final orders and judgments

by the Bankruptcy Court.

                                ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing to those parties registered to receive electronic noticing in this case on

May 15, 2023.

                                             Respectfully submitted,

                                             SHRAIBERG PAGE P.A.
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